                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

-------------------------------------------------------------------X

RUTH SMITH, Individually and ad Widow for the
Use and Benefit of herself and the Next of Kin
of RICHARD SMITH, Deceased,

                                        Plaintiff,                       No. 3:05-cv-00444

               vs.                                                       Judge Aleta A. Trauger

PFIZER INC., PARKE-DAVIS a division of
Warner-Lambert Company and Warner-Lambert
Company LLC, WARNER-LAMBERT COMPANY,
WARNER-LAMBERT COMPANY LLC and
JOHN DOE(S) 1-10,

                                           Defendants.
---------------------------------------------------------------------X

                      PLAINTIFF’S TRIAL EXHIBIT LIST

    Plaintiff, by and through her attorneys, pursuant to the Court’s Pretrial Order, hereby

lists the following exhibits that may be offered at trial. Plaintiff submits these exhibits

conditionally and without waiver of her right to object on grounds of relevancy,

prejudice, or any other ground to the subject matter of the exhibits, and reserves her right

to use any or all of these exhibits as rebuttal evidence in the event that her objections to

defendants’ evidence are overruled. In submitting this exhibit list, plaintiff specifically

reserves the right to: 1) withdraw at anytime any exhibit identified on this list; 2)

supplement and/or amend this list in the event that additional relevant materials are

produced in this action or are discovered subsequent to the date of service of this list; 3)

supplement and/or amend this list to use additional exhibits at trial as required for

authentication, rebuttal or impeachment and/or as necessitated by evidence presented by




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defendants; 4) supplement and/or amend this list to add exhibits related to and including

depositions that have not yet been taken or with regard to which a deposition transcript is

not yet available; 5) supplement and/or amend this list in response to the Court’s ruling

on pretrial motions or other evidentiary matters; 6) supplement and/or amend this list as

otherwise permitted by this Court. Finally, plaintiff reserves the right to offer in the

evidence any exhibits identified by the defendants as trial exhibits and/or actually offered

into the evidence by defendants at trial, as well as to use demonstratives at trial to support

witness testimony. Plaintiff also reserves the right to use any exhibit that is used in any

video deposition exhibit designated by either party.


       See attached Exhibit List


Dated: April 28, 2010


   FINKELSTEIN & PARTNERS, LLP                    JACK W. LONDON AND
      ASSOCIATES, P.C.

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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the forgoing was served via ECF
filing the 28th day of April 2010 on the following:

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